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               Agent Resources        Market Trends     Leads     Marketing     News      inspiration                                           Q Search

                                  HMS
                                                                                                                                  Zillow works for
                                 Zillow's Listing Access Standards: What                                                          agents
                                 Agents Need to Know                                                                              We're here to support you and
                                                                                                                                  your clients on their journey
                                                                                                                                  home. Discover how we can help
                                                                                                                                  grow your business today.




                                                                                             1

                                          Zillow Premier Agent
                                                                                                          C) 13 minute Read
                                          May 20, 2025


                                 Update: Download a quick-reference PDF with clear "allowedf and "not allowed'
                                 guidelines to help your team understand and meet Zillow's Listing Access Standards.

                                 At Zillow, we believe everyone deserves fair access to real estate information. That's
                                 why we introduced our listing access standards designed to protect transparency and
                                 foster a competitive market for buyers, sellers and agents. As we launch these
                                 standards across Zillow and Trulia, we want to share how you can keep all your listings
                                 in front of the largest audience of buyers online.


                                 Zillow's listing access standards
                                 Our standards are guided by one simple, powerful principle: If a listing is marketed
                                 to some buyers, it should be marketed to all buyers. Publicly marketed listings
                                 should be entered in the MLS within one business day and published on Zillow as well
                                 as other sites that receive MLS feeds so it is viewable to all buyers and participants in
                                 the market. Listings that don't align with these standards won't be published on Zillow
                                 or Trulia for the life of the listing agreement between that listing broker and seller.

                                 These listing access standards are how we're implementing NAR's Clear Cooperation
                                 Policy on Zillow sites and reflect our belief in fair access for all. The standards apply to
                                 listings regardless of any applicable MLS rule. They apply to all listings subject to an
                                 exclusive for-sale listing agreement between a broker and a seller and therefore do
                                 not apply to builder inventory represented directly by the builder, rental listings or for
                                 sale by owner listings.

                                  • For agents: These standards allow agents to best serve their clients, where
                                    everyone has fair access to listings. A transparent market supports you in
                                    providing the best possible service: your sellers expect maximum exposure for
                                    their listing and the best way to deliver that for them is by broadly marketing the
                                    listing. Your buyers expect to see all available listings.
                                  • For sellers: By ensuring listings are widely marketed, sellers benefit from
                                    maximum exposure which research shows typically leads to higher sale prices
                                    and a quicker sale. This has a greater impact on communities of color: Home
                                    sellers in communities of color lose $6,000 more on average when selling off the
                                    MLS. Aligning with these standards helps sellers trust that their property is being
                                    marketed fairly and reaches the broadest possible audience.
                                  • For buyers: Buyers gain confidence knowing they have access to all available
                                    listings, reducing frustration and increasing trust in the marketplace. This
                                    transparency helps buyers make more informed decisions and feel more secure
                                    in their home-buying journey. Additionally, limiting who can - and can't see -a
                                    listing presents fair housing risks.

                                 We recognize that a small number of sellers prioritize privacy over maximizing price or
                                 getting a fast sale, however for most sellers, broad exposure creates the best outcome
                                 - a faster sale for more money. Zillow's standards are focused on listings that aren't
                                 truly private - like listings that may be publicly advertised on a brokerage's website but
                                 not entered into the MLS for a period of time. We believe listings marketed to some
                                 buyers should be available to all buyers and their agents.


                                 Here's what to expect
                                  • Zillow Listing Access Standards publication: Full Listing Access Standards are
                                    linked within Zillow's Terms of Use.
                                  • Initial rollout: We are rolling our standards out in phases starting with many
                                    large markets in the U.S. and expanding nationally throughout the summer.
                                  • Listing violation notifications: Starting May 28, agents will receive notifications
                                    if a listing doesn't meet our listing access standards. Each non-compliant listing
                                    will be logged as a single violation and the listing agent will be notified directly on
                                    each violation.
                                  • Blocking of violating listings: As of June 30, an agent's third non-compliant
                                    listing - and any subsequent non-compliant listings - will be blocked from Zillow
                                    and Trulia for the life of the listing agreement between that listing broker and
                                    seller.
                                  • Listings that meet the standards will remain visible: Listings that align with
                                    the listing access standards will be on Zillow and Trulia, regardless of an agent's
                                    past violations.

                                 This notification period is designed to give agents ample time to understand and
                                 ensure they're complying with the new listing access standards so all publicly
                                 marketed listings can reach the broadest audience of home shoppers online.
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          What's allowed under the listing access standards
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                  Office exclusive listings are permitted as long as a homeowner signs a seller
                  disclosure, and the office exclusive is limited within a single brokerage company
                  and shared only amongst agents within that brokerage or 1:1 communication with
                  clients, but not marketed publicly.
                  Coming soon listings entered into the MLS within one business day and made
                  available to all MLS participants and available via DX or VOW, comply with our
                  standards.
                  Posting a sneak peek of a listing on social media or in an email newsletter to
                  buyers as long as it doesn't include details that could approximate a listing, like
                  price and address, and doesn't include a call to action - like an invitation to tour
                  the home or a callout to receive the link to the listing via a direct message.



             What's not allowed under the listing access
             standards
               • Listings that are publicly marketed but not entered into the MLS and available via
                 IDX or VOW within one business day of being marketed.
               • Listings that are shared selectively with buyers who are not already clients of the
                 brokerage, creating an unfair advantage and limiting access for others.
               • Listings marketed to consumers on a public-facing platform including on a
                 brokerage's website without being entered into the MLS.
               • Publicly marketing that off-MLS listings are available if a buyer is willing to work
                 with an agent or brokerage.
               • Public marketing includes things like display on a broker's website, a yard sign
                 promoting the home, open houses or virtual tours.
               • A social media post sharing a listing is considered public marketing -and would
                 not be in compliance with our standards - if the post includes things like the
                 following:
                   • Call to action around selective marketing of the listing.
                        • Example: A social media post of 123 Main Street with a link to visit the
                           brokerage site, which is gated behind a customer log-in.
                   • Listing details which could approximate a listing with an accompanying
                      call to action.
                        • Example: A social media post of 123 Main Street for 8500,0000



             What if a seller wants to keep their listing offline?
              Homeowners have many options if they want privacy in the way they sell their home.

               • Homeowners can choose to have their home post on the MLS and opt-out of
                 internet display so the home is still shared with MLS participants.
               • Homeowners can hide their address and still publish a home for sale in the MLS
                 and across other sites that receive MLS feeds

             If a homeowner decides they want to keep their listing completely private, they should
             be fully informed of the tradeoffs and agree in writing, consistent with NAR's revised
             rules. A listing can remain completely private only if all of the following conditions are
             met

               • The seller gives written instructions directing their agent not to disseminate the
                 listing in the MLS or online.
               • The listing is shared only between agents within the same brokerage and shared
                 1:1 to their individual clients.
               • The listing itself or the existence of it is not marketed publicly in any way.
               • The seller signs a waiver or opt-out form that includes information about the
                 decision as well as potential drawbacks of keeping the home off of the MLS or
                 widely online. The form will clearly direct the agent not to publicly market the
                 home.



              Resources to make sure your listings get the most
              exposure
             We've created training, FAQs and other resources to help agents confidently meet our
             standards and keep your listings where they belong — in front of the most home
             shoppers:

               • Download a listing presentation to share with your clients showcasing the benefits
                 of marketing a home widely.
               • Zillow Premier Agents: Take the Zillow Academy course to deepen your
                 understanding of the standards.
               • If you have a concern about a listing you believe doesn't align with our standards,
                 let us know here.



              FAQs
             How are the standards being implemented?

              Our goal is for all agents to follow the Zillow Listing Access Standards so each of their
              listings can be shown on Zillow and Trulia. flan agent violates the listing access
              standards, we will block on a listing level, but track compliance at the agent level.
              Here's what that means - If an agent posts two listings that do not comply with our
              listing access standards, the third non-compliant listing—and any subsequent non-
              compliant listings—will be blocked from appearing on Zillow and Trulia for the life of
              the listing agreement between that specific listing broker and seller. Listings that do
              comply with the standards will be on Zillow and Trulia, regardless of an agents past
              violations.

              Can a broker feed be sent instead of MLS participation?

             We will accept the independent brokerage feed in the event the MLS doesn't send an
             DX or VOW feed with all coming soon/delayed marketing or active listings. It cannot
             be used at the broker's discretion to supersede the MLS.

              What do you consider to be publicly marketed?

                  The core of these standards is this: A listing publicly marketed to some buyers
                  must be entered in the MLS within one business day for distribution and display
                  on Zillow as well as other sites that receive MLS feeds so all sellers and buyers in
                  the market can access it freely.
                  Public marketing means promoting, marketing or advertising a listing in any
                  manner, which can mean flyers, yard signs, social media, public-facing websites or
                  apps, emails, printed mailers, newspapers, open houses, previews, showings,
                  multi-brokerage listing-sharing networks, virtual tours, and brokerage private
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           listing networks to the extent such listing network is publicly marketed and/or
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                        accessible to consumers, including those accessible only to a brokerage's clients
                        behind a registration wall.
                      • Public marketing is also defined as consumer-facing marketing about the
                        existence of inventory only available by working with a specific agent or
                        brokerage.

                     What is the definition of "one business day'?

                     Business days are Monday through Friday, excluding Saturdays, Sundays, and any
                     federal holidays.

                     Can a blocked listing ever be published to Zillow?

                     Listings that don't meet these standards won't be published on Zillow or Trulia for the
                     life of the listing agreement between that listing broker and seller. The address itself
                     isn't blocked, only the active listing for the duration of the listing agreement between
                     that listing brokerage and seller.

                     Will you remove a listing that is already on Zillow that you find violated the
                     standards?

                     No, listings that are currently active will not be taken down from Zillow or Trulia.

                     How many warnings will agents get?

                      • Agents will receive two notifications before their listing is blocked. Each
                        notification corresponds to a non-compliant listing. The third notification results
                        in the non-compliant listing being blocked.
                      • Any subsequent non-compliant listings - will be blocked from Zillow and Trulia for
                        the life of the listing agreement between that listing broker and seller without a
                        notification.
                      • During the month of June, we may issue additional notifications to ensure well-
                        meaning agents are not caught unaware.

                     How are you notifying agents?

                     We are connecting with agents who have a non-compliant listing via multiple channels
                     including email and phone.

                     What is a listing notification and does it require action?

                      • Listing notifications will be sent when we've identified a listing that doesn't follow
                        our standards. These notifications are intended to inform agents and share
                        resources they need to stay compliant and maximize exposure of their listings.
                        Our intent isn't to restrict access or catch any agent unaware — that's why we'll
                        spend the next few months informing agents on a per listing occurrence.
                      • Agents will be notified via email and phone call when a listing doesn't follow our
                        listing access standards.

                     Why are you launching in large markets first?

                     Its commonplace to roll out new products and services in a phased approach to
                     ensure quality and experience. Similarly, we are rolling out our standards via a phased
                     approach starting with several large markets across the U.S. and expanding nationally.

                     If I post a listing on social media, and if ifs not in the MIS within 1 business day,
                     it will be blocked from ever appearing on Zillow?

                      • If a social media post includes the following, it is considered public marketing -
                        and would not be in compliance with our standards:
                           • Call to action around selective marketing of the listing.
                                • Example: A social media post of 123 Main Street with a link to visit the
                                   brokerage site, which is gated behind a customer log-in.
                                • Example: Agent posts a photo of an image of 123 Main Street and asks
                                   clients to comment with the neighborhood name to get a link to the
                                   private listing.
                           • Listing details which could approximate a listing with an accompanying
                              call to action.
                                • Example: A social media post of 123 Main Street for $500,0000 with a call
                                   to direct message the agent to tour the home.
                      • Alternatively, if a social media post about an upcoming listing does not include the
                        call to action or listing details, it is compliant with our standards.
                           • Example: A social media post including an image of a home giving an agents
                              followers a sneak peek before it goes live on the MLS.

                     What if listing off-market was something my seller client specifically asked for?

                     Homeowners have many options if they want privacy in the way they sell their home.

                      • Homeowners can choose to have their home post on the MLS and still opt-out of
                        internet display so the home is shared with MLS participants but not published
                        anywhere online.
                      • Homeowners can also choose to hide their address and still publish a home for
                        sale in the MLS and across other sites that receive MLS feeds for maximum
                        exposure.

                     If a homeowner does wish to keep their listing fully private — whether for privacy,
                     safety, or another personal reason —we support that. In those cases, the listing never
                     gets publicly marketed (on Zillow or anywhere else online) and there is an existing
                     path in the MLS for these unique sellers. To take this path, the seller should be fully
                     informed of the tradeoffs and agree in writing. A listing remains completely private
                     only if all of the following conditions are met:

                      • The seller gives written instructions directing you not to disseminate the listing in
                        the MLS.
                      • The listing is shared only between agents within the same brokerage and their
                        individual clients.
                      • The listing is not marketed publicly in any way and understands they are opting
                        out of online exposure.
                      • The seller signs a waiver or opt-out form that includes clear information about the
                        decision, directs you not to publicly market the home and outlines the potential
                        drawbacks of keeping the listing off public platforms.

                     Do the standards impact New Construction listings?

                     No. Builder inventory is not impacted under these new listing standards unless the
                     property is listed with an agent under an exclusive listing agreement which is already
                     required to be in the MLS under the existing Clear Cooperation Policy.

                     Do the standards impact for sale by owner listings?

                     No. For sale by owner listings are still able to be entered directly onto our sites. These
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          new listing standards apply to listings that Document
                                                       are subject to an exclusive51-16
                                                                                  listing                               Filed 07/17/25   Page 5 of 5
                       agreement between a broker and a seller.

                       Do the standards impact rentals listings on Zillow and Trulia?

                       No. Rentals inventory is not impacted under these new listing standards. These new
                       listing standards are limited to homes for sale.

                       Are coming soon listings allowed under the standards?

                       As long as a coming soon is entered into the MLS within one business day of public
                       marketing and available via IDX or VOW to all participants, it complies with our
                       standards.

                       Are delayed marketing listings allowed under the standards?

                       Delayed marketing or coming soon listings entered into the MLS and available to all
                       MLS participants, including in an IDX or VOW listing feed, are also acceptable within
                       the standards and will be posted to Zillow and Trulia.

                       Are office exclusives allowed under the standards?

                       Office exclusive listings are permitted as long as a homeowner signs a seller
                       disclosure, and the office exclusive is limited within a single brokerage company and
                       shared only amongst agents within that brokerage or 1:1 communication with current
                       clients, but not marketed publicly.




                              After reading this article, do you agree with the following statement 'Allow is a
                                                 helpful partner in my real estate journey?




                                                                                          Aar.         Strongly.Agree




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